Sep 22 15 0'1 :49p     N,4el and   Lan loomanawanui                               8083558278             pl
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                            IN TIIE■ INITED STAtt DISTRICT COURT

                                         FOR TIIE DISTRICT OF HAWAII

                                                                      Case ll15‑CV‑00322J卜 lS― BMK
         題 LT'I AKINA,ι r αZ.,

                      PZα Jれ ま
                             榎お,
                                                                      DECLARATION OF             ⅣIE L VIN
                                                                      HooMANAWい   OU
                                    v.

          STATE OF HAWAII, er aJ''

                     D夕 ″グαれrs,
                      and

          SAMUELL.KEALOHA,JR.,α α                      J,




                      れた″          Or‐   Dへ纂 滅これ
                              ̀″                 'S・




                                    DECLARAT10N OF PttLVIN H00■ IANAWANEJI
                                                                                       1746,undcr pcnaltV Of
                     MELVIN H00MANAWANUI,pursuant t0 28 U.SC.§

           pCrJuW,and deposes and says as fOllows:

                                                                                            Capttoncd rnatter.
                     l l amone ofthe parttiCS attcrnpting tO inteⅣ cnc in thc above―

                     2.I was bom in 1940,nd was raised in HOnolulu in the Temtory of Hawtti,

           befo      it bec諏        a state of Haw・ ail.I graduated from      ⅣlcKinley High Schoolin 1958

           and becamc a flreflghter with the Clty and Counり Of HOnolulu 1964.

                     3.I anl à続 ative Hawalian''as derlned in section 201(a)Of thC Hawalian

            Homes Co― ission Act,in that l alm a dcsccndant of notlcss than ollc―                 half part of



                                                             ‐
                                                                 1‑
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        the bLood of the races inhabiting the Hawaiian
                                                               Islands previous to 1778'

               4.IstronglyobjecttottleinclusionofHawaiianshavinglessthatone-halfpart

        ofrhebloodparticipatingintheorganizationofanentitypurportingtorepresent

        native Hawaiians of the blood'

               5.Iwasalwaysinterestedinpoliticsandwasintroducedtothe$5(f)truStin

         1978 when the Trask sisters and Mitzuo Uyehara
                                                                  talked to a group of us'

                                                                       more of the land trust'
               6. It was through Mitzuo Uyehara that I leamed

                   ?.lsupportedandlobbiedatthestateLrgislafureinthelg80'swiththeSand

         Istandstruggletoprovidea.,CulturalLive.inParK'liketheKokeeParkilKauai
                                                                       22 year lease'
         which allowed residents to live in State Parks under a

                   8,SarrdIslandis..CededI..and''thatwouldhavequalifiedunderthe$5(otlust

         for native Hawaiians as beneficiaries'

                   g.IwasalsoinvolvedwithMalamaKaAinawhofiledalawsuitagainstthe

          UnitedStatesDepartmentofthelnteriorregardingDHHLleaselandstonon-natives

          and Hawaiians who do not meet the blood quantum'

                    10'WeweresuccessfulwiththelnteriorDepartmentcomingtotheStateof
                                                                                             awarded
          Hawaii to ratify and speed up leases to the native Hawaiians who were not

          leases from the DHHL Program'

                    I l. on october 13. 2005, t along with the otier Intervenors filed a complaint

          against the Trustees of the Ofilice of Hawaiian Affairs, in the U.S. District Court for
                                                      ‐
                                                          2‐
Sep 22 15 01 50p   IVlel and Lani Hoomanawanui                8083558278           p3
         Case 1:15-cv-00322-JMS-RLP Document 69-4 Filed 09/25/15 Page 3 of 4 PageID.459




                                                                to prevent oHA from expending
        the District of Hawaii, civil No. 05-&9 seekitrg

        proceedsofthe$5(otrustforthebenefitofHawaiianswithoutregaldtothenotless
                                   as defined by the HHCA' based upon $$
                                                                         4 and 5(O of
        than one-half part of the blood

        the Hawaii Admission Act'

               12'InJanuary,:.jJ}g',lalongwiththeotherlntewenorsfiledanamicusbrief

         in the united states supreme court in srare of
                                                             Hawaii v. office of Hawaiian Affairs '

         No.07-13?2'

                   l3.Inthatcase,oHAwasatrcmPtingtoprcventthesaleof$5(fllandsbythe

         State of Hawaii purportedly on the grounds
                                                             of claims by native Hawaiians' In our

         briefwetookthepositionthatoHAwasmakingclaimsonbehalfofHawaiians

         withoutregardtothenotlessthanoue-halfpartbioodquantumintheHHCAand$

          5(0,andthatoHA,sargumentwasvalidonlyifthebloodquantumwererestricted

          to not less than one-half Part'

                   14.onMarch23,zolT,Ialongwiththeotherlntervenorsf,rledacomplaint

          against the Trustees of the office of Hawaiian Afiairs, in the Circuit
                                                                                   court of the FiI st

          circuit, state of Hawaii, Civil No. 1 1- 1-57 5, seeking topreventoHAfromexpending

          proceeds of tbe $ 5(0 trust for the benefit of Hawaiians without regard to the
                                                                                             not less

          than one-half part of the blood as defined by the HHCA, based upon state law.

                    15. Yet, here we are today stilt fighting for native Hawaiians rights.

                    16. In 1997 my wife, odetta L Hoomanawanui was asked to participate in

                                                       -3-
Sep 22 15 0'1 :50p     MeLand Lani Hoomanawanu                              8083558278             p4
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                                                             Kailua Kona under           the DHHL
                                    Villages of Laio' pua in
        home ownership in the

        r- e
        orogram.
                                                                                           home and
                                            --r:c:^dt'i'\nc she was a*arded a DHHL
                                           qualificadons'
                17. Due    to the required
                                                                          3' the frrst of the villages
                                             ttre Laio'pua Villages
         property     ownership in 1998 with
                                                               Kona'
                                   more to come in Kailua
         which there are many
                                                                to live in the   home 4 out of 7 days
                                            requires the lessee
                 18. Because occupancy
                                                                       to me' Melvin Hoomanawanui
                                 surrender her lease over
          weekly, my wife had to
                                         which was in Honolulu'
          because of her occupadon
                                                                                                    and
                                                  my qualifications        on my blood quantum
                     19. Therefore I had to Prove

           nadve Hawaiian status'
                                                   of our home and         property under the DIIHL
                     20. 1 anr curently the lessee

           program'
                                                                                                        thc
                                                              the      laws of the Unitd Slates that
                     I declare under penalty of perjury under

            foregoing is true and correct.                         ),,.. /       ,t/,_ n,L4
                     Executed this 20s of september, 2015,      "4t.llz7'f*'"Liiiali'

                                                                                                         〜
                                                                 VIN HOOMANAWANUI




                                                         ‑4‑
